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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

AUNHK RA AUNHKHOTEP,          )
                              )
           Plaintiff,         )
                              )
        v.                    )                               Case No. 4:23 CV 540 RWS
                              )
OFFICER JOSEPH KOPFENSTEINER, )
et al.,                       )
                              )
           Defendants.        )

                              MEMORANDUM AND ORDER

         In this 42 U.S.C. § 1983 action, plaintiff, who appears pro se, has moved for

summary judgment1 on all counts alleged in his complaint. However, he has failed

to present any evidence or argument with respect to damages on any of his claims.

Given plaintiff’s pro se status, in the interests of justice I will permit plaintiff to

supplement his motion for summary judgment by providing evidence and argument

with respect to damages. Such evidence must include plaintiff’s Rule 26

disclosures and must separately identify any and all damages sustained with

respect to each claim and each defendant. Defendant will be permitted to file an

opposition to the supplemental motion, and plaintiff will be given an opportunity to

file a reply brief in support of the supplemental motion.



1
    He does not seek partial summary judgment on issues of liability only.
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      With this additional briefing opportunity, the parties are again given notice

that the Court may grant judgment independent of a summary judgment motion on

the issue of damages or on grounds not raised by a party. Fed. R. Civ. P. 56(f).

      Accordingly,

      IT IS HEREBY ORDERED that plaintiff shall supplement his motion for

summary judgment on the issue of damages as set forth above by no later than

November 15, 2024.

      IT IS FURTHER ORDERED that defendants shall file their opposition to

plaintiff’s supplement in support of summary judgment no later than December 6,

2024. Plaintiff may file any reply brief in support of summary judgment no later

than December 13, 2024.




                                         ______________________________
                                         RODNEY W. SIPPEL
                                         UNITED STATES DISTRICT JUDGE

Dated this 29th day of October, 2024.




                                           2
